
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-418-CV



IN RE THOMAS D. NEWELL	RELATOR

------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL: &nbsp;GARDNER, J.; CAYCE, C.J.; and LIVINGSTON, J.



DELIVERED: &nbsp;November 20, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




